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                                               IN THE
                                   UNITED STATES COURT OF APPEALS
                                       FOR THE NINTH CIRCUIT


               IN RE: NATIONAL FOOTBALL LEAGUE’S
               “SUNDAY TICKET” ANTITRUST LITIGATION

               NINTH INNING INC., doing business as The
               Mucky Duck, for itself and for all others
               similarly situated; et al.,
                              Plaintiffs-Appellants,
                                                                   No. 24-5493
                        v.
               NATIONAL FOOTBALL LEAGUE, INC.; et al.,
                              Defendants-Appellees.

               NINTH INNING INC.; et al.,
                              Plaintiffs-Appellees,
                        v.
               PDB SPORTS LTD.; et al.,
                                                                   No. 24-5691
                              Defendants-Appellants,
                        and
               DIRECTV, LLC; et al.,
                              Defendants.
                        ________________________________________________________


                    PLAINTIFFS-APPELLANTS’ OPPOSITION TO DEFENDANTS-
                        APPELLEES’ MOTION FOR EXTENSION OF TIME

                        ________________________________________________________
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                                                 INTRODUCTION

                        The NFL Defendants request to extend the date for filing their opening brief

              “to 60 days from the date on which this Court accepts Plaintiffs’ opening brief . . .

              and files it on the public docket.” Dkt.92.1. The NFL Defendants’ request thus seeks

              a 60-day extension to an indefinite future date, which is not justified by the

              circumstances. Plaintiffs respectfully oppose the NFL Defendants’ Motion for

              Extension of Time to File its Principal Brief (Dkt.92), but do not oppose a reasonable

              extension of the NFL Defendants’ filing date to a date certain.1

                                                  BACKGROUND

                        Plaintiffs submitted their opening appellate brief on January 10, 2025

              (Dkt.41), after obtaining a 44-day extension from the original schedule (Dkt.36).

              The NFL Defendants consented to that extension, and Plaintiffs agreed not to oppose

              a motion by the NFL Defendants to extend their deadline by a similar amount of

              time for their first brief, i.e., until April 14, 2025.

                        On February 5, 2025, the NFL Defendants requested and received a 30-day

              extension to file their opening brief, moving the deadline to file their brief from

              February 10, 2025, to March 12, 2025 (Dkts.77, 78).



              1
               As discussed below, Plaintiffs had earlier agreed not to oppose an extension that
              would have allowed the NFL Defendants to file their brief on April 14, 2025 – i.e.,
              more than three months after Plaintiffs’ opening brief was filed.
                                                            1
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                        On February 20, 2025, the NFL Defendants notified Plaintiffs of their

              intention to request another extension to file their opening brief and inquired whether

              the Plaintiffs would oppose it. Plaintiffs’ counsel agreed to consider a reasonable

              request that specified a date certain instead of the indefinite deadline the NFL

              Defendants suggested. The NFL Defendants declined Plaintiffs’ offer and filed the

              instant motion. See Declaration of Scott A. Martin ¶ 4 (“Martin Decl.”).

                                                   ARGUMENT

                        1.   Circuit Rule 31-2.2(b) requires a party to specify the “length of the

              requested extension.” Yet the NFL Defendants’ current request proposes an open-

              ended deadline 60 days after an event beyond any party’s control.

                        2.   Plaintiffs understand that one of the NFL Defendants’ counsel, Mr.

              Clement, had obligations on unrelated matters which concluded on March 7, 2025.

              See Dkt.92.2 (Clement Decl. ¶ 8). Neither this argument, nor the NFL Defendants’

              time spent on their volitional filing of a motion to seal portions of the excerpts of

              record, warrants the requested extension as framed. Plaintiffs expressly offered to

              the NFL Defendants “an additional courtesy extension to a date certain if the current

              deadline poses a hardship for the drafters,” Martin Decl. ¶ 3, and the NFL Defendants

              have always had full access to the excerpts of record—both the provisionally-sealed

              and unsealed portions. The NFL Defendants declined that offer and filed the instant

              motion instead.


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                        3.   The NFL Defendants also argue that an extension is necessary because

              potential amici may wish to review Plaintiffs’ opening brief before deciding whether

              to file a brief. There is significant information concerning the appeal available on

              the public record, including the District Court’s Rule 50 order. Numerous amici filed

              briefs in support of Plaintiffs’ position even though Plaintiffs’ opening brief was filed

              under seal. Moreover, Plaintiffs have expressly indicated to the NFL Defendants’

              counsel that they have no objection to the circulation by them of Plaintiffs’ opening

              brief to potential amici. Martin Decl. ¶ 5. The NFL Defendants themselves

              acknowledge that no party has identified anything in Plaintiffs’ opening brief as

              information that should be restricted from public access. Dkt.92.1 at 2.2

                        4.   Finally, the NFL Defendants’ requested extension is not called for by

              Plaintiffs’ pending motion to file an oversized brief (Dkt.37). Depending on the

              Court’s ruling on that motion—despite it being unopposed—then either or both

              Plaintiffs and the NFL Defendants would subsequently file briefs in accordance with

              the Court’s order and on a schedule ordered by the Court. See Advisory Committee

              Note to Circuit Rule 32-2.




              2
                If the circumstances truly warranted, of course, potential amici could seek
              extensions of their own. See Fed. R. App. P. 29(a)(6).
                                                         3
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                                                   CONCLUSION

                        For the foregoing reasons, it is respectfully requested that the Court deny the

              NFL Defendants’ Motion for Extension of Time to File its Principal Brief.

               March 10, 2025                                  Respectfully submitted,

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